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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )              Case No. 8:15CR67
                       Plaintiff,              )
                                               )
         vs.                                   )
                                               )                    ORDER
ISAC NUNNALLY,                                 )
                                               )
                       Defendant.              )


         The court's records show the Office of the Clerk of Court sent a notice on April 14,

2015 (Ex Parte Text Notice No. 31), to Ernest H. Addison, Jr., by electronic filing. The

notice directed the attorney to pay the 2015/2016 attorney assessment fee, as required by

NEGenR 1.7(h), within thirty days. As of the close of business on May 29, 2015, the

attorney had not complied with the request set forth in the notice from the Office of the

Clerk.

         IT IS ORDERED:

         On or before June 15, 2015, attorney Ernest H. Addison, Jr., shall pay the

assessment or show cause by written affidavit why he cannot comply with the rules of the

court. Failure to comply with this order will result in the court removing Mr. Addison as

counsel of record for the defendant.

         Dated this 1st day of June 2015.

                                            BY THE COURT:


                                            s/ F.A. Gossett, III
                                            United States Magistrate Judge
